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 8
                                     UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                          NO. CR. S-16-00171 KJM
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                        Plaintiff,
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             v.                                         TRIAL CONFIRMATION ORDER
14
     MARIA SEFORA SANTA and
15   VIRGIL SEVER SANTA

16                      Defendants.

17

18           The trial in the above-captioned case, scheduled to commence on Tuesday, October 17,

19   2017, at 9:00 a.m., was confirmed at the trial confirmation hearing held on October 4, 2017. In

20   preparation for the upcoming trial, the court hereby ORDERS:

21           I.     TRIAL BRIEFS AND STATEMENT OF THE CASE

22           No later than October 10, 2017, the parties may file trial briefs and the government shall

23   file a statement of the case with the court. In their trial briefs, the parties shall include a summary

24   of points of law, including reasonably anticipated disputes concerning admissibility of evidence,

25   legal arguments, any other information the parties believe is relevant, and citations of authority in

26   support thereof. In lieu of a statement of the case, the parties may file a joint proposed jury

27   instruction that can be read to the jury in advance of voir dire that explains the nature of the case.

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         Case 2:16-cr-00171-DAD Document 52 Filed 10/06/17 Page 2 of 3


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             II.    PROPOSED JURY INSTRUCTIONS
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 3           Counsel are informed that the court has prepared a standard set of standard jury

 4   instructions. In general, they cover all aspects of the trial except those relating to the charges

 5   contained in the charging document. Accordingly, counsel need not prepare instructions

 6   concerning matters within the scope of the prepared instructions. A copy of the prepared

 7   instructions has been provided to the parties following the trial confirmation hearing. Counsel are

 8   further directed that their specific proposed jury instructions shall be filed no later than October

 9   10, 2017. As to any instructions counsel desire to offer, the proposing party shall also submit a

10   sanitized copy in Microsoft Word format via email to: kjmorders@caed.uscourts.gov.

11           III.   PROPOSED VOIR DIRE QUESTIONS AND VERDICT FORM

12           The parties may file proposed voir dire questions no later than October 10, 2017. In

13   addition, the government shall file a proposed verdict form. Any proposed voir dire questions

14   and the proposed verdict form shall also be submitted in Microsoft Word format via email to:

15   kjmorders@caed.uscourts.gov.

16           IV.    MOTIONS IN LIMINE

17           The parties shall file with the court motions in limine, if any, or responses to any pending

18   motions, no later than 12 noon on October 12, 2017. The parties are required to meet and confer

19   before filing a new motion to determine if agreement can be reached or the scope of a motion

20   narrowed before filing. Any motion filed shall contain a plain, concise summary of any

21   reasonably anticipated disputes concerning admissibility of evidence, including but not limited to,

22   live and deposition testimony, physical and demonstrative evidence and the use of special

23   technology at trial, including computer animation, video discs, and other technology. Any

24   opposition briefs to the motions in limine shall be filed no later than 12 noon on October 13,

25   2017. The court will address all outstanding motions with the parties at the final pretrial status

26   hearing set for Monday, October 16, 2017, at 9:00 a.m.

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            V.      EXHIBIT LIST AND WITNESS LIST
 2

 3          The government shall, and the defendant may, file exhibit and witness lists no later than

 4   October 10, 2017. Exhibit lists shall also be submitted in Microsoft Word format via email to:

 5   kjmorders@caed.uscourts.gov.

 6          All exhibits should be pre-marked with exhibit stickers provided by the court. The

 7   government’s exhibits shall be numbered. Should the defendant elect to introduce exhibits at

 8   trial, such exhibits shall be designated by alphabetical letter. The parties may obtain exhibit

 9   stickers by contacting the clerk’s office at (916) 930-4000.

10          VI. MISCELLANEOUS

11          Counsel also is referred to the additional information available in the standing orders

12   available online at the judge’s homepage.

13   DATED:         October 6, 2017.

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15                                               UNITED STATES DISTRICT JUDGE
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